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UNITED STATES BANKRUPTCY COURT, SOUTHERN DlSTRIC oF FLORIDA

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CHAPTER 13 PLAN (lndividual Adjustment of Debts)

 

 

 

 

 

 

@ Original Plan
]:] Aniended Plan (Indicate lst, 2nd, etc. Ainended, if applicable)
:] Modified Plan (Indicate lst, 2nd, etc. Modified, if applicable)
DEBTOR: iris Pereyra JOINT DEBTOR: CASE NO.: 18-2140?-.TKO
SS#Z x'xx-xx- SS#Z xxx-xx-
I. NOTICES
To chtors: Plans that do not comply with local rules and judicial rulings may not be confirmable. All plans, amended plans

and modified plans shall be served upon all creditors and a certificate of service filed with the Clerk pursuant to
Local Rules 2002-l (C)(S), 3015-1(B)(2), and 3015-2. Debtor(s) must commence plan payments Within 30 days of
filing thc chapter 13 petition or Within 30 days of entry of the order convening the ease to chapter 13.

To Creditors: Your rights may be affected by this plan. You must file a timely proof of claim in order to be paid. Your claim may
be reduced, modified or eliminated

To All Parties: Tlte plan contains no nonstandard provisions other than those set out in paragraph Vlll. Debtor(s) must check one
box on each line listed below in this section to state whether the plan includes any of the following:

 

 

 

 

 

The valuation of a secured claim set out in Seetion lll which may result in a .

. ’ ’ . I l N l
partlal payment or no payment at all to the secured credltor E nc udcd il 01 mc udcd
Avoidance of` a judicial lien or nonpossessory, nonpurchase-money security interest, set .
am in Seetion m E] lneluded m Not included
Nonstandard provisions, set out in Seetion Vlll E] lneluded m Not included

 

 

II. PLAN PAYMENTS, LENGTH OF PLAN AND DEBTOR[S)' ATTORNEY'S FEE

A. MONTHLY PLAN PAYMENT: This Plan pays for the benefit ofthe creditors the amounts listed below, including trustee's
fees of 10%, beginning 30 days from the filing/conversion date. In the event the trustee does not retain the full 10%, any unused
amount will be paid to unsecured nonpriority creditors pro-rata under the plan:

 

 

l. $2,021.34 for months; toi;
2. $l ,565.94 for monthsL to£;
B. DEBTOR(S)' ATTORNEY‘S FEE: |:l NONE |:| PRO BONO
Total Fces: $?()50.00 Total Paid: S540.00 Balancc Duc: $6510_00
Payablc $434.00 fmonth (Months l to 2 )

Allowed fees under LR 2016-1(B)(2) are itemized below:
$3500.00 [Basie Legal Fecs] + $2500,00 [MMM] + 3525,00 [Molion to Avoid Liens] + $525.00 [Motion to lmpose Automatie Stay]

Applications for compensation must be filed for all fees over and above the Court's Guidelines for Compensation.

 

 

 

III. TREATMENT OF SECURE]) CLAIMS

A. SECURED CLAIMS: |:] NONE
[Retain Liens pursuant to l 1 U.S.C. §1325 (a)(5)] Mortgage(s)iLien on Real or Personal Property:

 

1- Cr€ditorr Diicch Financiai, LLC

 

Addrcss: l 100 Virginia Drch AIrearagei' Payol`l` on Petilion Dalc
llzggtAWaShington’ PA M_MM Adequalc Proleclion M )‘month [Monlhs ; to £ )
19()34
Last 4 Digits of
Account No.:
Other:

 

 

 

 

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|:l Real Property Check one below for Real Property:
rlnclpa esl ence screw ls lnc u c ln le regu ar payments
` ` lR `d E ` ` l d d` tl l
ler ea roperty le c tor s wl pay taxes lnsuranee lreety
tl R lP Tl d b ( `ll ` d` l
Addrcss of Collateral:

3989 SW 153rd Avellue
Miramar, Florida 3302?

|:| Persollal Propertyt'Vehicle

 

Dcscription of` Collateral:

 

 

B. VALUATION OF COLLATERAL: |:| NONE
C. LIEN AVOIDANCE |:\ NONE

\:\ J udicial liens or nonpossessory, nonpurchase money security interests securing the claims will be avoided to the extent that

they impair the exemptions under 11 U.S.C. § 522 as listed below. A separate motion will also be served pursuant to BR
7004 and LR 3015-3.

l. Creditor: Asset Acceptance

 

Collateral:

Addrcss: 28405 Van Dyke Avenue,
Warren, Ml 48090.

 

Exemptioll: Homestcad Exemption

 

Last 4 Digits of Account No.:

 

 

D. SURRENDER OF COLLATERAL: Secured claims filed by any creditor granted stay relief in this section shall not receive a
distribution fom the Chapter 13 Trustee.
[:| NONE

E.

DI RECT PAYMENTS: Secured claims filed by any creditor granted stay relief ill this section shall not receive a distribution
fom the Chapter 13 Trustee.

|:| NONE

|:| The debtor(s) elect to make payments directly to each secured creditor listed below. The debtor(s) request that upon
confirmation of this plan the automatic stay be terminated ill rein as to tlle debtor(s) and in reln and in personam as to any
codebtor(s) as to these creditors. Notlling herein is intended to terminate or abrogate the debtor(s)‘ state law contract rights.

Name of Creditor Last 4 Digits of Aecount No. Deseription of Collateral (Address. Vehicle. etc.)

 

IV. TREATMENT OF FEES AN]) PRIORITY CLAIMS [as defined ill ll U.S.C. §507 and 11 U.S.C. § l322(a)(4)]

A. ADMINISTRATWE FEES OTH'ER THAN DEBTORS(S)' ATTORNEY'S FEE: |:| NONE

B. INTERNAL REVENUE SERVICE: [:| NONE
C. DOMESTIC SUPPOR'I` OBLIGATION(S): ‘-_i| NONE
D. OTHER: I:| NONE
V. TREATMENT OF UNSECURED NONPRIORITY CRE]]ITORS
A. Pay $20.00 imonth (Months L to £ )

Pro rata dividend will be calculated by the Trustee upon review of filed claims after bar date.

l:| lf checked, the Debtor(s) will amendfmodif`y to pay 100% to all allowed unsecured nollpriority claims.
C. SEPARATELY CLASSIFIED; |:| NONE

l. Name of Creditor:

 

 

Paymellt Address:

 

Last 4 Digits of Account No.:

Basis for Separate Classification

 

 

Payable $0,00 fmonth (Months to )

 

 

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*Debtor(s) certify the separate classifieation(s) of the claim(s) listed above will not prejudice other unsecured nonpriority
creditors pursuant to ll U.S.C. § 1322.
Vl. EXECUTORY CONTRACTS AND UNEXPIRED LEASES: Secured claims filed by any creditorflessor granted stay relief ill this
section shall not receive a distribution from the Chapter 13 Trustee.
[:| NONE
VII. INCOME TAX RETURNS AND REFUNDS: |:\ NONE
[:| Debtor(s) shall provide copies of yearly income tax returns to the Trustee (but llot file with the Court) no later than May
15th during the pendency of the Chapter 13 case. In the event t]le debtol'(s)’ disposable income or tax refunds increase,

dcbtor(s) shall increase payments to unsecured creditors over and above payments provided through the Plan up to 100% of
allowed unsecured claims. [BrowardfPalm Beach cases]

Vlll. NON-STANDARD PLAN PROVISIONS |:I NONE
[:| Nollstalldard provisions must be set forth below. A nonstandard provision is a provision not otherwise included ill the Local
Form or deviating from it. Nonstandard provisions set out elsewhere in this plan are void.

 

[:| Mortgage Modification Mediation

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l The debtor has filed a Verified Motion for Referral to MMM with:

 

("Lcndcr")

 

loan number

 

for real property located at

 

The parties sllall timely comply with all requirements of the Order of Referral to MMM and all Administrative Ordersl'Local
Rulcs regarding MMM. While the MMM is pending and until the trialfinterim payment plan or the permanent mortgage
modificationipermanent payment is established by the parties, absent Court order to the contrary, the debtor has included a post-
petition monthly plan payment (a) with respect to the debtor’s llomestead, of llo less thall the lower of the prepetition monthly
contractual mortgage payment or 31% of the debtor’s gross monthly income (after deducting any amount paid toward HOA fees
due for the property) and (b) with respect to income producing property, of no less than 75% of the gross income generated by
such property, as a good faith adequate protection payment to the lender. All payments shall be considered timely upon receipt
by the trustee and not upon receipt by tlle lender.

Until the MMM is completed and the Final Report of Mortgage Modification Mediator is filed, any objection to the lender’s
proof of claim on the real property described above shall be held in abeyance as to the regular payment and mortgage arrearage
stated ill the proof of claim only. The debtor shall assert any and all other objections to tlle proof of claim prior to confirmation
of tlle plan or modified plan.

lf the debtor, co-obligor)'co-borrower or other third party (if applicable) and tlle lender agree to a settlement as a result of the
pending MMM, the debtor will file the MMM Local Form “Ex Parte Motion to Approve Mortgage Modification Agreement
with Lendcr” (or Self-Reprcscntcd chtor’s Motion to Approve Mortgage Modification Agreement with Lender) no later than
14 calendar days following settlement Once the settlement is approved by tile Court, the debtor shall immediately amend or
modify the plan to reflect the settlement and the lender shall amend its Proof of Claim to reflect the settlement, as applicable

lf a settlement is reached after the plan is confirmed, the debtor will file a motion to modify the plan no later than 30 calendar
days following approval of the settlement by the Court and the Lellder shall llave leave to amend its Proof of Claim to reflect
the settlement reached after confirmation of tlle plan. Tlle parties will tllell timely comply with any and all requirements
necessary to complete the settlement.

In tlle event tile debtor receives any financial benefit froln tlle lender as part of ally agreement, the debtor shall immediately
disclose the financial benefit to the Court and the trustee and amend or modify the plan accordinglyl

lf the lender and the debtor fail to reach a settlement, then no later than 14 calendar days after the mediator’s Final Report is
filed, tlle debtor will amend or modify the plan to (a) conform to the lender’s Proof of Claim (if the lender has filed a Proof of
Claim), without limiting the Debtor’s right to object to the claim or proceed with a motion to value; or (b) provide that the real
property will be “treatcd outside the plan.” If` the property is “treated outside the plan," the lender will be entitled to in rem stay
relief to pursue available state court remedies against the property. Notwithstanding the foregoing, lender may file a motion to
confirm that tlle automatic stay is not in effect as to the real property.

Collfirmation of the plan will be without prejudice to tlle assertion of any rigllts the lender has to address payment of its Proof
of Claim.

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PROPERTY OF TI'l'E ESTATE WILL VEST IN THE DEBTOR(S) UPON PLAN CONF]RMATION.

I declare that tlle foregoing chapter 13 plan is true and correct under penalty of perjury.

 

 

 

fs/' Iris Pereyra Debtor 1(),!17;2()13 Joint Debtor
ms Pereyra Date Date
Attomey with permission to sign on Date

Debtor(s)' behalf

By filing this document, the Attorney for Debtor(s) or Debtor(s), if not represented by eounsel, certifies that the wording and
order of the provisions in this Chapter 13 plan are identical to those contained in Loeal Form Chapter 13 Plan and the plan
contains no nonstantlartl provisions other than those set out ill paragraph VIII.

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